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 I   DAVID L. ANDERSON (CABN 149604)
     United States Attomey
 2
     SARA WTNSLOW (DCBN 457643)
 J   Chief, Civil Division

 4   REBECCA A. FALK (CABN 226798)
     Assistant United States Attomey
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 6         San Francisco, Califomia 941 02-3 49 5
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 7         FAX: (415) 436-6745
           Rebecca. Falk@usdoj. gov
 8
     Attomeys for Federal Defendants
 9
                                    UNITED STATES DISTRICT COURT
l0
                                 NORTHERN DIS'TRICT OF CALIFORNIA
11
                                            SAN JOSE DIVISION
12

13   INTERNATIONAL TECHNOLOGICAL                    ) CASE NO.     I8.CV.06228 EJD
     UNIVERSITY FOUNDATION, INC.,                   )
14                                                  ) DECI-ARATION OF REBECCA A. FAI,K IN
           Plaintiflf,                              ) SUPPORT OF DEFENDANTS' OPPOSITION 1'O
15                                                  ) PLAINTIFF'S MOTION FOR A PREI,TMINARY
                                                    ) INJT-]NCTION
16                                                  )
     KIRSTJEN M. NIELSEN, in her official           ) Date: June 13,2019
t7   capacity as SECRETARY OF THE                   ) Time: 9 a.m.
     DEPARTMENT OF HOMELAND                         )
18   SECURITY, UNITED STATES OF
     AMERICA, UNITED STATES
t9   DEPARTMENT OF HOMELAND
     SECURITY, UNITED STATES
20   IMMIGRATION AND CUSTOMS
     ENFORCEMENT, STUDENT EXCHANGE
21   AND VISITOR PROGRAM, and DOES 1
     THROUGH IO, INCLUSIVE,
22
           Defendants.
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     DECLARATION OF REBECCA A. FALK ISO DEFENDANTS' OPPOSITION TO PLAINTIFF'S MOTION FOR A
     PRELIMINARY INJUNCTION
     CASE NO. 18.CV.06228 EJD
                Case 5:18-cv-06228-EJD Document 32-2 Filed 03/22/19 Page 2 of 2




 I             Pursuant to 28 U.S.C. $ 1746, I, Rebecca       A. Falk, do hereby declare:

 2             1.     I am employed as an Assistant United States Attomey in the United States Attomey's

 J   Office for the Northem District of Califomia,450 Golden Gate Avenue, Box 36055, San Francisco,

 4   Califomia 94102.

 5             2.     I make this declaration based on my own personal knowledge ofthe facts of this matter.

 6   Ifcalled upon to do so, I could and would testiry to the following.

 7             3.     On January 2, 2019, I e-mailed Joshua       Hill ofMorrison &    Foerster, counsel for   Plaintiff

 8   International Technological University Foundation, Inc. ("lTU"), seeking consent to review the report

 9   authored by David Olmos of the Nolan law firm dated October 6,2014 (Ihe                'Nolan Memorandum"). In

10   the altemative, I asked him to let me know if ITU would object to the Federal Defendants' request for ln

11   camera review of the Nolan Memorandum.

12             4.     On January 3,2019, and after a telephonic discussion regarding the same, Mr.         Hill
13   replied via e-mail that ITU did not consent to review of the Nolan Memorandum.

14             5.     On March22,2019, via e-mail, Mr.          Hill let me know that ITU objects to in camera
15   revlew.

t6             I declare that the foregoing is true and correct under penalty of perjury.

t7             Executed on March 22.2019" at San l"rancisco. Califomia

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                                                                 /s/ Rebecca A. Falk
19                                                               REBECCA A. F
                                                                 Assistant United           Attomev
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     DECLARATION OF REBECCA A. FALK ISO DEFENDANTS' OPPOSITION TO PLAINTIFF'S MOTION FOR A
     PRELIMINARY INJUNCTION
     CASENO. 18-CV.06228      EJD                         1
